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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,
Plaintiff,
Vv. Case No. 24-CR-045-GKF-04

DARMEL DASHUN BATEMON JR.,
a/k/a “Darmel Bateman,”

Defendant.

Plea Agreement
The United States of America, by and through Clinton J. Johnson, United States
Attorney for the Northern District of Oklahoma, and Kenneth Elmore, Assistant
United States Attorney, and the defendant, DARMEL DASHUN BATEMON JR,
in person and through counsel, John Dunn, respectfully inform the Court that they
have reached the following plea agreement.

1. Plea

The defendant agrees to enter voluntary pleas of guilty to the following:

COUNT EIGHT: 18 U.S.C. § 922(n) and 924(a)(1)(D) - Transporting Firearms in
Interstate Commerce While Under Indictment

as set forth in the Second Superseding Indictment in the instant case, Northern

District of Oklahoma, and admits to being in fact guilty as charged in the counts to

which the defendant is pleading guilty.

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2, Waiver of Constitutional Rights

The defendant understands that, by pleading guilty, the following constitutional
rights will be relinquished:
a. the right to be indicted if proceeding by Information;
b. the right to plead not guilty;

c. the right to be tried by a jury, or, with the consent of the government, to be
tried by a judge;

d. the right to an attorney at trial, including a court-appointed attorney if the
defendant could not afford an attorney;

e. the right to assist in the selection of the jury;

f. the right to be presumed innocent, and to have the jury instructed that the
government bears the burden to prove the defendant guilty beyond a reasonable
doubt and by a unanimous verdict;

g. the right to confront and cross-examine witnesses against the defendant;

h. the right to testify on their own behalf and present witnesses in their
defense;

i. the right not to testify, and to have the jury instructed that the decision not
to testify could not be used against the defendant;

j. the right to appeal a guilty verdict to determine if any errors had been
committed during trial that would require either a new trial or a dismissal of the
charges;

k. the right to have a jury determine beyond a reasonable doubt any facts that
could increase any mandatory minimum or maximum sentence; and

I. any rights and defenses under the Excessive Fines Clause of the Eighth
Amendment to the United States Constitution to the forfeiture of property in this
proceeding or any related civil proceeding, special or other assessment, and any
order of restitution.

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By pleading guilty, the defendant will be giving up all of these rights. By pleading
guilty, the defendant understands that they may have to answer questions posed by
the Court, both about the rights that the defendant will be giving up and the factual

basis for the defendant’s plea.

3. Appellate and Post-Conviction Waiver

In consideration of the promises and concessions made by the government in this
plea agreement, the defendant knowingly and voluntarily agrees to the following
terms:

a. The defendant waives rights under 28 U.S.C. § 1291 and/or 18 U.S.C. §
3742(a) to directly appeal the conviction and sentence, including any fine,
assessment, forfeiture, restitution order, term or condition of supervised release,
or sentence imposed upon a revocation of supervised release; except that the

defendant reserves the right to appeal from a sentence that exceeds the statutory
maximum;

b. The defendant expressly acknowledges and agrees that the government
reserves all rights to appeal the sentence;

c. The defendant waives the right to appeal from the district court’s denial of
any post-conviction motion to reduce the term of supervised release or probation
under 18 U.S.C. §§ 3583(e)(1) or 3564(c); and

d. The defendant waives the right to collaterally attack the conviction and
sentence under 28 U.S.C. §§ 2241, 2255, or any other extraordinary writ, except
for claims of ineffective assistance of counsel.

The defendant expressly acknowledges that counsel has explained his appellate

and post-conviction rights; that the defendant understands his rights; and that the

defendant knowingly and voluntarily waives those rights as set forth above.

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4. Freedom of Information Act Waiver

The defendant waives all rights, whether asserted directly or by a representative,
to request or to receive from any department or agency of the United States any
records pertaining to the investigation or prosecution of this case including, without
limitation, any records that may be sought under the Freedom of Information Act, 5
U.S.C. § 552, or the Privacy Act of 1974, 5 U.S.C. § 552a.

5. Rule 11 Rights Waiver

The defendant knowingly and expressly waives all the rights afforded under Rule
11(f) of the Federal Rules of Criminal Procedure. Therefore, in any subsequent
proceeding, including a criminal trial, the following shall be admissible against the
defendant under Rule 801(d)(2)(A) of the Federal Rules of Evidence:

a. A guilty plea which is later withdrawn or that the defendant seeks to
withdraw;

b. The facts that the defendant has admitted under this plea agreement, as
well as any facts to which the defendant admits in open court at the plea hearing,
and any statement made in any proceeding under Rule 11 regarding this plea
agreement; and

c. Any statement made during plea discussions with an attorney or agent for

the government, or that were made pursuant to a proffer letter agreement, that
resulted in a plea of guilty that is later withdrawn.

6. Payment of Monetary Penalties

a. Enforcement

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1) The defendant waives any defense or objection to any action to enforce
the collection of financial obligations to be imposed in connection with this
prosecution, including, but not limited to, collection procedures authorized by
the Federal Debt Collection Procedures Act, 28 U.S.C. § 3001, et seq., 18
U.S.C. § 3664, or 18 U.S.C. § 3613.

2) The defendant understands and agrees that under 18 U.S.C. § 3613 any
monetary penalties or restitution imposed by the Court will be due and
payable immediately and subject to immediate enforcement by the United
States. If the Court imposes a schedule of payments, the defendant agrees that
the schedule is a minimum schedule of payments and not the only method,
nor a limitation on the methods, available to the United States to enforce the
judgment.

3) The defendant waives any requirement for demand of payment on any
fine, restitution, or assessment imposed by the Court.

4) The defendant agrees that any unpaid obligations will be submitted to
the United States Treasury for offset, so that any federal payment or transfer of
returned property the defendant receives may be applied to federal debts and
will not be limited by a payment schedule.

5) The defendant agrees that any restitution debt may not be discharged in
any bankruptcy proceeding.

b. Disclosure of Financial Information

1) The defendant agrees to provide complete information regarding all
victims potentially entitled to restitution.

2) The defendant agrees to provide truthful and complete financial
information, as requested by the United States Probation Office for the
preparation of the presentence report.

3) The defendant agrees to complete, under penalty of perjury, the
required financial statement form not later than two weeks after the defendant
enters a guilty plea. The defendant agrees to update any material changes in
circumstances, as described in 18 U.S.C. § 3664(k), within seven days of the
event giving rise to the changed circumstances.

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7.

4) The defendant agrees to submit, before and after sentencing, to
depositions and interviews regarding the defendant’s financial status, as
deemed necessary by the United States Attorney’s Office.

5) The defendant authorizes the United States Attorney’s Office to obtain
the defendant’s credit report. The defendant also agrees to provide waivers,
consents, or releases, valid for 120 days after sentencing, to allow the U.S.
Attorney’s Office to access records to verify financial information.

6) The defendant, authorizes the United States Attorney’s Office to inspect
and copy all financial documents and information held by the U.S. Probation
Office.

7) The defendant’s failure to timely and accurately complete and sign the
financial statement, and any necessary updates, may, in addition to any other
penalty or remedy, constitute a failure to accept responsibility under U.S.S.G
§ 3E1.1.

Abandonment Agreement

Defendant agrees to abandon all interest in and rights or claims, to, if any, the

property described below in order that final disposition may be made by the

appropriate federal, state or local law enforcement agency, and agrees not to oppose

any civil, administrative, or judicial forfeiture of the property. The property to be

abandoned includes but is not limited to:

FIREARMS AND AMMUNITION

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a.

A Palmetto State Armory, Model PA-15, multi caliber pistol, serial number
SCD443583;

An Anderson Manufacturing, Model AM-15 , Multi caliber pistol, serial
number 22021725;

A Century Arms International, Model VSKA, 7.62 x 39mm pistol, serial
number SV7P011101; and

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4. A Zastava, Model PAP M85 PV, 5.56 caliber pistol, serial number
M85PV001787; and

5. A Romarm/Cugir, Micro Draco, 7.62 x 39mm pistol, serial number 22PMD-
28632.

Defendant specifically waives any right to personal notice of intention to abandon
the property and any right to challenge the disposition of the property under Federal
law.

Defendant further waives all constitutional and statutory challenges in any
manner (including direct appeal, habeas corpus, or any other means) to any judicial
or administrative forfeiture or abandonment carried out in accordance with this plea
agreement on any grounds, including that the forfeiture constitutes an excessive fine
or punishment.

Defendant agrees that in the event this plea agreement is voided for any reason,
the agreement for abandonment and disposition of the property listed above shall
survive and shall be given full force and effect.

8. Special Assessment

i The defendant hereby agrees to pay the total Special Monetary
Assessment ($100 per felony count) to the United States District Court Clerk at or

before sentencing or as otherwise directed by the District Court.

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9, Factual Basis and Elements

To convict defendant under 18 U.S.C. § 922(n) and 924(a)(1)(D), the government
must prove the following elements beyond a reasonable doubt:

I. The defendant knowingly transported the firearms in interstate or foreign
commerce,

II. While under indictment for a crime punishable for a term exceeding one
year; and

III. Before the defendant possessed the firearm, the firearm had moved in
interstate or foreign commerce.

With regard to the factual basis required by Federal Rule of Criminal Procedure
11(b)(3), the defendant agrees and stipulates that there is a factual basis for the plea
of guilty and relieves the United States of any further obligation to adduce such
evidence.

The defendant, DARMEL DASHUN BATEMON JR., admits to knowingly,
willfully and intentionally committing or causing to be committed the acts
constituting the crimes alleged in Count Eight in the instant case, and confesses to

the Court that the defendant is, in fact, guilty of such crimes.

I, DARMEL DASHUN BATEMON JR., admit that I committed the
crime Transporting a Firearm While under Indictment for a Felony,

from on or about September 15, 2023, through on or about September
16, 2023.

Specifically, on September 15, 2023, I met with other members ofa
group and traveled from Arkansas to Tulsa, Oklahoma. At that time, I
knew I was under indictment for Manslaughter, Case No. 60CR-23-
3725, in the District Court in and for Pulaski County, State of
Arkansas, which is a crime punishable by imprisonment for more than

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one year. I knew there were firearms in the vehicle which we

transported in interstate commerce by driving from Arkansas to
Oklahoma.

One of the reasons I traveled from Arkansas to Oklahoma with other
members of the group was to distribute the firearms we transported to
others in the group. We drove with the firearms to 321 E.
Reconciliation Way, Tulsa, Oklahoma, where we were arrested by the
police. Prior to September 15, 2023, the firearms we transported had
traveled in or impacted interstate or foreign commerce.

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DARMEL DASHUN BATEMON JR. Date
Defendant

10. Further Prosecution

The United States shall not initiate additional criminal charges against the
defendant in the Northern District of Oklahoma that, as of the date of the
defendant’s acceptance of this agreement, arise from its investigation of the
defendant’s actions and conduct giving rise to the instant Second Superseding
Indictment. The defendant understands, however, that this obligation is subject to all
“Limitations” set forth below, and that the United States Attorney’s Office for the
Northern District of Oklahoma is free to prosecute the defendant for any illegal
conduct (i.¢., violation of federal criminal laws) not discovered by or revealed to the
government before the date of this agreement or occurring after the date of this

agreement.

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11. Dismissal of Remaining Counts

If the Court finds the defendant’s pleas of guilty to be freely and voluntarily made
and accepts the pleas, then the United States will move, at the appropriate time, to
dismiss the remaining counts in the instant case, if any, as to this defendant.

If the defendant’s guilty pleas are rejected, withdrawn, vacated, or reversed at any
time, any charges that have been dismissed may be reinstated or re-presented to a
grand jury, and the government will be free to prosecute the defendant for all
charges. Under these circumstances, the defendant waives any right to argue that the
Double Jeopardy clause bars the defendant’s federal prosecution, as well as any
objections, motions, or defenses based upon the applicable statute of limitations, the
Speedy Trial Act, or constitutional restrictions as to the timeliness of any renewed
charges.

12. Acceptance of Responsibility

Provided the defendant clearly demonstrates acceptance of responsibility, the
government agrees to recommend a two-level reduction in offense level pursuant to
U.S.S.G. § 3E1.1. The government agrees to file a motion recommending that the
Court grant an additional one-level reduction under U.S.S.G. § 3E1.1(b), if the
defendant’s Guidelines offense level qualifies him for such a reduction. The
sentencing judge is in a unique position to evaluate the acceptance of responsibility,
and the Court will ultimately decide whether to apply any § 3E1.1 reduction for

timely acceptance of responsibility.

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Any agreement to recommend an acceptance-of-responsibility reduction is
contingent upon the defendant's continuing manifestation of acceptance of
responsibility as determined by the government. If the defendant (1) falsely denies, or
makes conflicting statements as to, his involvement in the crimes to which he is
pleading, (2) falsely denies or frivolously contests conduct that the Court determines
to be relevant conduct as defined in USSG § 1B1.3, (3) willfully obstructs or attempts
to obstruct or impede the administration of justice as defined in USSG § 3C1.1, (4)
perpetrates or attempts to perpetrate crimes while awaiting sentencing, or (5)
advances false or frivolous issues in mitigation, the government expressly reserves
the right to withdraw any recommendation regarding acceptance of responsibility

without breaching the agreement.

13. Sentence
a. Imprisonment
The defendant acknowledges that under 18 U.S.C. § 922(n) the maximum
statutory sentence not more than 5 years of imprisonment and a fine of not more
than $250,000.
b. Supervised Release
Additionally, the defendant is aware, if imprisonment is imposed, that the Court
may include as part of the sentence a requirement that after imprisonment the

defendant be placed on a term of supervised release of no more than 3 years per

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Count. Violation of any condition of supervised release may result in revocation, or
modification of the conditions, of supervised release, which may in turn result in
additional incarceration consistent with 18 U.S.C. § 3583(e).

c. Guidelines

The defendant is aware that the Sentencing Guidelines are advisory. The Court,
while not bound to apply the Sentencing Guidelines, must consult those Guidelines
and take them into account when sentencing.

The defendant is further aware that the Court determines the sentence, that the
Court has not yet done so, and that any estimate of the sentence — received from any
source — is a prediction, not a promise. Regardless of any estimate the defendant has
received, the Court has discretion to impose any sentence up to and including the
statutory maximum.

14. Stipulations

The defendant and the United States agree and stipulate to the following facts:

The defendant understands that neither the Court nor the United States Probation
Office is bound by the foregoing stipulations, either as to questions of fact or as to
determination of the correct advisory sentencing guideline calculation.

Having been fully apprised by defense counsel of the right to seek compensation
pursuant to Public Law 105-119, the defendant WAIVES any and all such right, and

stipulates that defendant is not a “prevailing party” in connection with this case.

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15. Limitations

This plea agreement shall be binding and enforceable upon the Office of the
United States Attorney for the Northern District of Oklahoma, but in no way limits,
binds or otherwise affects the rights, powers, duties or obligations of any state or
local law enforcement agency, administrative or regulatory authorities, civil or
administrative enforcement, collection, bankruptcy, adversary proceedings or suits
which have been or may be filed by any governmental entity, including without
limitation, the Internal Revenue Service, the Tax Division of the Department of
Justice and the trustee in bankruptcy.

16. Breach of Agreement

In the event either party believes the other has failed to fulfill any obligations
under this agreement, then the complaining party shall, in its discretion, have the
option of petitioning the Court to be relieved of its obligations herein. The Court
shall determine whether a party has completely fulfilled all its obligations under this
agreement in an appropriate proceeding at which any disclosures and documents
provided by either party shall be admissible and at which the complaining party shall
be required to establish any breach by a preponderance of the evidence. If the Court
determines that the defendant has breached the plea agreement, the government may
declare this agreement null and void, and the defendant will be subject to prosecution
for any criminal violation, including but not limited to any crimes or offenses

contained in or relating to the charges in this case, as well as false statement,

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obstruction of justice, or any other crime committed by the defendant during this
prosecution.

The defendant hereby WAIVES any right under Rule 11(d) and (e) of the Federal
Rules of Criminal Procedure to withdraw from the guilty plea or this agreement, save
and except if the Court determines that the government has breached the plea
agreement as set forth above. If DARMEL DASHUN BATEMON JR. , after entry
ofa plea of guilty, unsuccessfully attempts to withdraw that guilty plea, the
government may continue to enforce the agreement but will no longer be bound by
any particular provision in this agreement, unless the Court determines that the
government acted in bad faith to bring about the attempted plea withdrawal.

17. Conclusion

No agreements, representations or understandings have been made between the
parties in this case, other than those which are explicitly set forth in this plea
agreement and the Plea Agreement Supplement that the United States will file in this
case (as it does in every case, even if there are no additional terms) and none will be

entered into unless executed in writing and signed by all of the parties.

SO AGREED:

CLINTON J. JOHNSON
UNITED STATES ATTORNEY

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KENNETHELMORE Dated
Assistant United States Attorney

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JOHN DUNN Dated
Attorney for Defendant
Laarthholau am Lola
DARMEL DASHUN BATEMON JR. Dated
Defendant
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I have read this agreement and carefully reviewed every part of it with my
attorney. I understand it, and I voluntarily agree to it. Further, I have consulted with
my attorney and fully understand my rights with respect to sentencing which may
apply to my case. No other promises or inducements have been made to me, other
than those contained in this pleading. In addition, no one has threatened or forced
me in any way to enter into this agreement. Finally, I am satisfied with the

representation of my attorney in this matter.

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DARMEL DASHUN BATEMON JR. Dated
Defendant

Tam counsel for the defendant in this case. I have fully explained to the defendant
the defendant’s rights with respect to the pending Second Superseding Indictment.

Further, I have reviewed the provisions of the Sentencing Guidelines and Policy

Statements and I have fully explained to the defendant the provisions of those
Guidelines which may apply in this case. I have carefully reviewed every part of this

plea agreement with the defendant. To my knowledge, the defendant’s decision to

“UA is an informed and voluntary one.
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JOHN DUNN Dated
Cownsel for the Defendant

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